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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SHAWN HINES,                   :
                               :
     Plaintiff,                :
                               :                    Civil Action File
v.                             :
                               :                    No. 1:17-cv-02704-MLB
FDS BANK and DEPARTMENT STORES :
NATIONAL BANK,                 :
                               :
     Defendants.               :
                               :

                   NOTICE OF VOLUNTARY DISMISSAL

      COMES NOW PLAINTIFF, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, and before the service of an answer or a motion for

summary judgment, and stipulates that this action shall be dismissed with

prejudice to the Claims of Plaintiff Shawn Hines.

      Respectfully submitted,

                                SKAAR & FEAGLE, LLP

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